     Case 8:20-cv-00048-JVS-JDE Document 1086 Filed 12/19/22 Page 1 of 4 Page ID
                                     #:76080



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       MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17
                        IN THE UNITED STATES DISTRICT COURT
18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                    SOUTHERN DIVISION
20
21     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
       a Delaware corporation; and            )
22     CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS’ NOTICE OF MOTION
       a Delaware corporation                 ) AND MOTION FOR PARTIAL
23                                            ) SUMMARY JUDGMENT
                   Plaintiffs,                )
24                                            ) Date:        February 6, 2023
             v.                               ) Time:        1:30 p.m.
25                                            ) Location: Courtroom 10C
       APPLE INC., a California corporation   )
26                                            )
                   Defendant.                 )
27                                            )
                                              )
28                                            )
     Case 8:20-cv-00048-JVS-JDE Document 1086 Filed 12/19/22 Page 2 of 4 Page ID
                                     #:76081



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     Case 8:20-cv-00048-JVS-JDE Document 1086 Filed 12/19/22 Page 3 of 4 Page ID
                                     #:76082



1            PLEASE TAKE NOTICE that on February 6, 2023, at 1:30 PM, or as soon
2      thereafter as counsel may be heard, in the Courtroom of the Honorable James V. Selna,
3      Courtroom 10C of the United States District Court for the Central District of
4      California, located at 411 West Fourth Street, Santa Ana, California, 92701, Plaintiffs
5      Masimo Corporation and Cercacor Laboratories, Inc. (collectively, “Masimo”) will
6      and hereby do move the Court for an Order granting partial summary judgment as
7      follows:
8            Apple misappropriated Masimo’s Trade Secrets D-9 through D-15. There
9            is no genuine dispute as to any material fact that Masimo possessed Trade
10           Secrets D-9 through D-15, Apple misappropriated those trade secrets, and
11           Apple harmed Masimo when it misappropriated the trade secrets. Thus,
12           Masimo is entitled to partial summary judgment as a matter of law on
13           Trade Secrets D-9 through D-15.
14           This motion is based upon this Notice of Motion, the Memorandum in Support
15     of the Motion, the Declarations of Joe Kiani, Mohamed Diab, Bilal Muhsin, Gerry
16     Hammarth, Tracy Miller, Jeroen Poeze, and Vijay Madisetti, the Declaration of
17     Kendall M. Loebbaka and accompanying exhibits, the Statement of Uncontroverted
18     Facts and Conclusions of Law, any subsequently filed memorandums and declarations,
19     the pleadings and papers filed in this action, and any other arguments, evidence, and
20     other matters submitted to the Court, at the hearing or otherwise. A proposed order is
21     being lodged for the Court’s consideration.
22           This motion is made following the conference of counsel pursuant to L.R. 7-3,
23     which took place on December 12, 2022.
24     ///
25     ///
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     Case 8:20-cv-00048-JVS-JDE Document 1086 Filed 12/19/22 Page 4 of 4 Page ID
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1                                           Respectfully submitted,
2                                           KNOBBE, MARTENS, OLSON & BEAR, LLP
3
4      Dated: December 19, 2022             By: /s/ Kendall M. Loebbaka
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                                                   Attorneys for Plaintiffs
11                                                 MASIMO CORPORATION and
12                                                 CERCACOR LABORATORIES, INC.
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